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15   Attorneys for Plaintiff ROBERT ETRI

16                                UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
18

19   ROBERT ETRI, individually, and on behalf      Case No. 4:22-cv-02504 YGR
     of all others similarly situated,
20                                                 CLASS ACTION
                  Plaintiff,
21                                                 JOINT STATEMENT RE ARBITRATION
     v.                                            STATUS
22
     ONE MEDICAL GROUP, INC.                       Hon. Yvonne Gonzalez Rogers
23
                  Defendant.
24

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                                                            JOINT STATEMENT RE ARBITRATION STATUS
                                                                        CASE NO. 4:22-CV-02504 YGR
 1           Plaintiff Robert Etri (“Plaintiff”) and Defendant One Medical Group, Inc. (“One Medical”)

 2   (collectively, “Parties”), by and through their attorneys of record, file this Joint Statement to report on

 3   the status of arbitration.

 4           On July 29, 2022, this Court entered its Order Granting Stipulation To Refer Claims To

 5   Arbitration And Conditionally Closing Case For Statistical Purposes, which directed that the “parties

 6   shall notify the Court within 14 days of the completion of the arbitration or file a Joint Statement

 7   reporting on the status of the arbitration no later than 180 days from entry of this Order, whichever

 8   occurs first.” (Dkt. No. 21.)

 9           The status of the arbitration is as follows: Plaintiff filed his demand for arbitration requesting

10   an order declaring the parties’ arbitration agreement invalid and unenforceable under McGill v.

11   Citibank. Respondent filed its answering statement denying all liability and asserting that the parties’

12   arbitration agreement is valid and enforceable and that McGill is inapplicable for multiple independent

13   reasons. Pursuant to the Consumer Arbitration Rules of the American Arbitration Association (AAA),

14   a telephonic Preliminary Hearing was held on January 19, 2023, before Arbitrator Diana Kruze. The

15   parties stipulated and the Arbitrator agreed to first evaluate the validity of the parties’ arbitration

16   agreement prior to discussing scheduling of the merits. The Arbitrator set the following motion

17   schedule:

18                  The opening brief from Respondent will be filed and served on or before

19                   February 28, 2023.

20                  The opposition brief from Claimant will be filed and served on or before

21                   March 21, 2023.

22                  The reply brief will be filed and served on or before March 31, 2023.

23                  An optional hearing shall take place via zoom on April 10, 2023 at noon pacific time.

24   The Arbitrator shall issue an order regarding the motion within 30 days after the hearing is closed.

25           Given the status and potential for additional arbitration proceedings regarding the merits, the

26   parties propose that they notify the Court within 14 days of the completion of the arbitration or file a

27   Joint Statement reporting on the status of the arbitration no later than 180 days from the filing date of

28   this Joint Statement, whichever occurs first.
                                                                      JOINT STATEMENT RE ARBITRATION STATUS
                                                        1
                                                                                  CASE NO. 4:22-CV-02504 YGR
1           Respectfully submitted,

2    Dated: January 25, 2023                        EDELSBERG LAW, PA.
3                                                   /s/Scott Edelsberg
                                                    Scott Edelsberg (330090)
4
                                                    Attorneys for Plaintiff
5                                                   ROBERT ETRI
6
     Dated: January 25, 2023                        COOLEY LLP
7
                                                    /s/Leo P. Norton
8                                                   Leo P. Norton (216282)
9                                                   Attorneys for Defendant
                                                    ONE MEDICAL GROUP, INC.
10
11                           CIVIL LOCAL RULE 5-1(h)(3) ATTESTATION

12          I, Leo P. Norton, attest that concurrence in the filing of this document has been obtained from

13   counsel for Plaintiff. Executed on January 25, 2023, in San Diego, California.

14                                                 /s/Leo P. Norton
                                                   Leo P. Norton
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                                                                   JOINT STATEMENT RE ARBITRATION STATUS
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                                                                               CASE NO. 4:22-CV-02504 YGR
